           Case 2:10-cv-04374-CDJ Document 181 Filed 08/28/18 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA ex rel.,
STEPHEN A. KRAHLING and JOAN A.                  Civil Action No. 10-4374 (CDJ)
WLOCHOWSKI,
                 Plaintiffs,
           v.
MERCK & CO., INC.,
                 Defendant.

IN RE: MERCK MUMPS VACCINE                       Master File No. 12-03555 (CDJ)
ANTITRUST LITIGATION

THIS DOCUMENT RELATES TO:
ALL ACTIONS

                                          ORDER

       AND NOW, this      27TH     day of August, 2018, upon consideration of Defendant’s

Letter Motion to Withdraw its Letter Motion for additional time to depose Relators’ and

Plaintiffs’ expert, Dr. David A. Kessler (ECF Docket No. 180), it is hereby ORDERED that the

Motion is GRANTED.

       Defendant’s Letter Motion for additional time to depose Relators’ and Plaintiffs’ expert,

Dr. David A. Kessler (ECF Docket No. 167) is hereby withdrawn, without prejudice. 1



                                            BY THE COURT:


                                              /s/ Lynne A. Sitarski        .
                                            LYNNE A. SITARSKI
                                            UNITED STATES MAGISTRATE JUDGE


       1
         By Order dated November 13, 2014, the Honorable C. Darnell Jones, II referred all
discovery motions in the above-captioned matter to the undersigned for disposition pursuant to
28 U.S.C. § 636(b)(1)(A). See ECF Docket No. 67.
